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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA




 UNITED STATES OF AMERICA

              v.                                CRIMINAL NO. 21-311

 STANLEY WOLOFF



                                           ORDER

        AND NOW, this _____ day of _____ 2022, upon consideration of the uncontested

Motion of Defendant Stanley Woloff for Leave to File Sentencing Memorandum Under Seal, it

is hereby ORDERED that:

        1.         The Motion is GRANTED; and

        2.         Defendant Stanley Woloff’s Sentencing Memorandum shall be FILED UNDER

SEAL.


                                                         ______________________________
                                                         C. Darnell Jones II, J.
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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA




 UNITED STATES OF AMERICA

           v.                                      CRIMINAL NO. 21-311

 STANLEY WOLOFF




        MOTION OF DEFENDANT STANLEY WOLOFF FOR LEAVE TO FILE
                SENTENCING MEMORANDUM UNDER SEAL

       Defendant Stanley Woloff respectfully moves for leave to file his Sentencing

Memorandum under seal. Because of the nature of the information provided in Mr. Woloff’s

Sentencing Memorandum, disclosure of this information may result in harm to Mr. Woloff. The

Government does not contest this Motion.

       For these reasons, Mr. Woloff respectfully requests that the Court enter an Order granting

Mr. Woloff’s Motion to file the Sentencing Memorandum under seal.

                                                     Respectfully submitted,


                                                     /s/ Judson A. Aaron_____
                                                     CONRAD O’BRIEN PC
                                                     Judson A. Aaron, Esquire
                                                     Lorie K. Dakessian, Esquire
                                                     1500 Market Street, Centre Square
                                                     West Tower, Suite 3900
                                                     Philadelphia, PA 19102-2100
                                                     (T) 215.864.9600 / (F) 215.864.9620

                                                     Counsel for Defendant Stanley Woloff

Dated: April 28, 2022



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                                 CERTIFICATE OF SERVICE

       I certify that, on the date set forth below, the foregoing Motion of Defendant Stanley

Woloff for Leave to File Sentencing Memorandum Under Seal was served on all counsel of

record via ECF. I further certify that the electronic filing of this document constitutes proper

service on all counsel of record pursuant to Local Rule 5.1.2.

                                                      /s/ Judson A. Aaron, Esquire
                                                      Judson A. Aaron, Esquire
Dated: April 28, 2022




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                        CERTIFICATE OF UNCONTESTED MOTION

       I certify that I have conferred with opposing counsel regarding the foregoing Motion of

Defendant Stanley Woloff for Leave to File Sentencing Memorandum Under Seal. I further

certify that, in accordance with Local Rule 7.1, this Motion is uncontested.


                                                     /s/ Judson A. Aaron, Esquire
                                                     Judson A. Aaron, Esquire
Dated: April 28, 2022




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